                                                                                   Department of Revenue
                                                                                          955 Center St NE
         Kate Brown, Governor                                                        Salem, OR 97301-2555
                                                                                      www.oregon.gov/dor



                                                                      Date:            October 27, 2020

        VIRGINIA ANDREWS BURDETTE, TRUSTEE                            Letter ID:       L0778859200
        VIRGINIA ANDREWS BURDETTE
        5506 6TH AVE S STE 207
        SEATTLE WA 98108-2553



                                            Return Received
Debtor(s):                      ERIC L. SILVA

Bankruptcy Case Number: 19-34037-PCM12

Our records show that we have received Oregon tax return(s) previously requested, or returns are
not required.

After reviewing the returns, department staff may adjust tax-to-pay or refund amounts. Once we
have completed processing, we will file our proof of claim.

If you have any questions, please call.




/s/ Richard Hennessey, Bankruptcy Unit
Collections Division
(503) 779-3012

cc: Attorney
    Debtor
    Bankruptcy Court




Do you have questions or need help?
www.oregon.gov/dor
(503) 378-4988 or (800) 356-4222
questions.dor@oregon.gov
Contact us for ADA accommodations or assistance in other languages.




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                                                                                             Department of Revenue
                                                                                                    955 Center St NE
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                                                                                                www.oregon.gov/dor




                                           Certificate of Service


Case Number:19-34037-PCM12
Debtor(s) Name: ERIC L. SILVA
_________________________________________________________________________________________________________________

I certify that on October 27, 2020 copies of the Withdrawal of Objection (Return Received letter)
were mailed to:

Electronically transferred (ECF) to addressee(s) as follows:
Addressee(s):

VIRGINIA ANDREWS BURDETTE
MOTSCHENBACHER & BLATTNER, LLP

First class mail to addressee(s) as follows:
Addressee(s):

ERIC L SILVA
26755 BLANKENSHIP RD
BEAVER OR 97108-9734




/s/ Richard Hennessey, Bankruptcy Unit
Collections Division
Phone: (503) 779-3012
Fax: (503) 945-8735




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